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UNITED STATES DlsTRlCT CoURT 57}’
wEsTERN DISTRICT oF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-vs- Case No.1: OSci‘

MARK MCCURRY

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled ease, and is otherwise qualified for appointment ofcounsel. Aceordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
° All purposes including trial and appeal

DONE and ORDERED in lll South Highland, Jacl<son, this fa?"_‘(! day ofAuguSt,
2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States l\/[arshal

Pretrial Services Office

Assistant Federal Public Defender

111¥3 document entered on the docket sheet In com nance

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:05-CR-10026 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

